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Application granted. Reply
papers are due February 7,
2022. SO ORDERED.




Dated: New York, New York
       November 5, 2021
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